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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK

 WE THE PATRIOTS USA, INC.,                :
 DIANE BONO,                               :
 MICHELLE MELENDEZ,                        :       Dkt. No.:1:21-cv-4954
 MICHELLE SYNAKOWSKI,                      :
      Plaintiffs,                          :
 v.                                        :
                                           :
 KATHLEEN HOCHUL - GOVERNOR                :
 OF NEW YORK; HOWARD                       :
 ZUCKER, M.D, - COMMISSIONER,              :
 NEW YORK STATE DEPARTMENT                 :
 OF HEALTH                                 :
      Defendants.                          :       SEPTEMBER 12, 2021

       MEMORANDUM OF LAW IN SUPPORT OF EMERGENCY MOTION FOR
       TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

        The Plaintiffs respectfully request the Court to issue an emergency temporary

 restraining order pursuant to Federal Rule of Civil Procedure 65(b) until the Court can

 fully hear their request for a preliminary injunction and make a final determination as to

 the constitutionality of New York State Health Regulation, Title 10, § 2.61.

                                   Factual Background

        On August 16, 2021, then New York Governor Andrew Cuomo promised New York

 health care workers that the state’s coming COVID-19 vaccine mandate for healthcare

 workers would allow for “limited exceptions for those with religious or medical reasons.”

 Exhibit B, pp. 1-2. On August 26, 2021, the Defendants promulgated New York State

 Health Regulation, Title 10, § 2.61 with no public notice and comment period. The

 regulation departed drastically from then Governor Cuomo’s promises by eliminating

 religious exemptions for healthcare workers when it comes to the Defendants’ COVID-19

 vaccination mandate. Exhibit A, p. 2


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        New York State Health Regulation, Title 10, § 2.61 covers “any facility or institution

 included in the definition of ‘hospital’ … including but not limited to general hospitals,

 nursing homes, and diagnostic and treatment centers….” Id. at p. 1. It applies to

        all persons employed or affiliated with a covered entity, whether paid or
        unpaid, including but not limited to employees, members of the medical and
        nursing staff, contract staff, students, and volunteers, who engage in
        activities such that if they were infected with COVID-19, they could
        potentially expose other covered personnel, patients or residents to the
        disease.

 Id. at p. 2. The regulation requires “[c]overed entities … [to] continuously require

 personnel to be fully vaccinated against COVID-19, with the first dose for current

 personnel received by September 27, 2021 for general hospitals and nursing homes, and

 by October 7, 2021 for all other covered entities absent receipt of an exemption as

 allowed….” Id. at p. 2.

        The only exemption that New York State Health Regulation, Title 10, § 2.61

 provides is a “medical exemption.” Id. at p. 2.

 Vaccines – Ingredients:

        The three major COVID-19 vaccines – Johnson & Johnson (Janssen), Pfizer, and

 Moderna – use cells artificially developed using fetal cells taken from aborted fetuses in

 the 1970s and the 1980s in their testing, manufacture, or both. See COVID-19 Vaccines

 & Fetal Cells, Michigan Department of Health & Human Services. 1

        Johnson & Johnson used an aborted fetal cell line to produce and manufacture its

 vaccine. Id. Pfizer and Moderna did not use an aborted fetal cell line to produce and




 1https://www.michigan.gov/documents/coronavirus/COVID-
 19_Vaccines_and_Fetal_Cells_031921_720415_7.pdf

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 manufacture their vaccines, but they did use an aborted fetal cell line to confirm its efficacy

 prior to producing and manufacturing it. Id.

 Northwell Health & Plaintiffs Diane Bono & Michelle Melendez:

        Plaintiff Diane Bono is a registered nurse at Syosset Hospital in New York and is

 employed by Northwell Health. Exhibit C – Affidavit of Diane Bono, ¶ 3. She is a

 practicing Christian and believes in “the sanctity of life, born and unborn.” Id. at ¶ 5. She

 believes that abortion is morally evil and that its fruits are as well. Id. at ¶ 5. As such, she

 has a sincere religious objection to taking any of the available COVID-19 vaccines

 because they use aborted fetal cell lines. Id. at ¶ 6. On August 23, 2021, she submitted a

 request for a religious exemption from New York’s COVID-19 vaccination mandate to

 Northwell Health. Exhibit D – Religious Exemption Denial For Diane Bono. Northwell

 Health denied her religious exemption on August 31, 2021 and explained why:

        We have received your request dated August 23, 2021 for an
        accommodation in the form of a religious exemption from New York State’s
        mandate that requires all health care personnel receive their first dose of
        the COVID-19 vaccine by September 27, 2021. On August 18, 2021, the
        New York State Department of Health (“DOH”) issued this mandate under
        Section 16 of the Public Health Law. However, on August 26, 2021 the DOH
        announced that religious exemptions are not permitted under the State
        mandate. It is for this reason that we are unable to grant your request for a
        religious exemption.

 Id.

        It then delivered her an ultimatum: “If you choose to not receive your first shot

 between now and September 27, 2021, you will be non-compliant with the NYS mandate

 and your continued employment will be at risk.” Id.

        Bono has elected not to comply with the Defendants’ mandate because it would

 violate her religious beliefs. Exhibit C, ¶ 7. Her choice will subject her to the termination



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 of her current employment and will bar her from obtaining other employment as a nurse

 unless she yields and receives a COVID-19 vaccination. Id. at ¶ 9.

        Plaintiff Michelle Melendez is a registered nurse at Syosset Hospital in New York

 and is employed by Northwell Health. Exhibit E – Affidavit of Michelle Melendez, ¶¶ 2-

 3. She is a practicing Catholic and believes in “the sanctity of life, born and unborn.” Id.

 at ¶¶ 4-5. She believes that abortion is morally evil and that its fruits are as well. Id. at ¶

 5. As such, she has a sincere religious objection to taking any of the available COVID-19

 vaccines because they use aborted fetal cell lines. Id. at ¶ 6. On August 22, 2021, she

 submitted a request for a religious exemption from New York’s COVID-19 vaccination

 mandate to Northwell Health. Exhibit F – Religious Exemption Denial For Michelle

 Melendez. Northwell Health denied her religious exemption on August 31, 2021 and

 explained why:

        We have received your request dated August 22, 2021 for an
        accommodation in the form of a religious exemption from New York State’s
        mandate that requires all health care personnel receive their first dose of
        the COVID-19 vaccine by September 27, 2021. On August 18, 2021, the
        New York State Department of Health (“DOH”) issued this mandate under
        Section 16 of the Public Health Law. However, on August 26, 2021 the DOH
        announced that religious exemptions are not permitted under the State
        mandate. It is for this reason that we are unable to grant your request for a
        religious exemption.

 Id.

        Northwell Health, however, did not issue the same direct ultimatum to Melendez

 as it did to Diane Bono. Melendez, however, believes that, like Bono, she will be

 terminated on or after September 27, 2021 if she refuses to get a COVID-19 vaccine.

 Exhibit E, ¶ 8.




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        Melendez has elected not to comply with the Defendants’ mandate because it

 would violate her religious beliefs. Id. at ¶ 7. Her choice will subject her to the termination

 of her current employment and will bar her from obtaining other employment as a nurse

 unless she yields and receives a COVID-19 vaccination. Id. at ¶ 9.

 Michelle Synakowski:

        Michelle Synakowski is a registered nurse employed at St. Joseph’s Hospital in

 New York. Exhibit G – Affidavit of Michelle Synakowski. She is a practicing Catholic

 and believes in “the sanctity of life, born and unborn.” Id. at ¶¶ 4-5. She believes that

 abortion is morally evil and that its fruits are as well. Id. at ¶ 5. As such, she has a sincere

 religious objection to taking any of the available COVID-19 vaccines because they use

 aborted fetal cell lines. Id. at ¶ 6. She will not comply with New York’s vaccination

 mandate, and her employer has informed her that it will terminate her employment on

 September 21, 2021 if she does not receive the vaccine because it is required to do so

 by New York State Health Regulation, Title 10, § 2.61. Id. at ¶¶ 7-8. Her choice will subject

 her to the termination of her current employment and will bar her from obtaining other

 employment as a nurse unless she yields and receives a COVID-19 vaccination. Id. at ¶

 9.

                                           Argument

        A temporary restraining order is an extraordinary remedy. Moore v. Consol. Edison

 Co. of N.Y., Inc. v. Reidy, 409 F.3d 506, 510 (2d Cir. 2005). “The purpose of a temporary

 restraining order is to preserve an existing situation in status quo until the court has an

 opportunity to pass upon the merits of the demand for a preliminary injunction.” Garcia v.

 Yonkers Sch. Dist., 561 F.3d 97, 107 (2d Cir. 2009). The same factors used to determine



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 the merits of a preliminary injunction are used to determine a request for a temporary

 restraining order. Longshoremen’s Ass’n, AFL-CIO v. New York Shipping Ass’n, Inc., 965

 F.2d 1224 (2d Cir. 1992). Thus, to obtain their requested temporary restraining order, the

 Plaintiffs must show “irreparable harm, and either (1) a likelihood of success on the merits

 of the case or (2) sufficiently serious questions going to the merits to make them a fair

 ground for litigation and a balance of hardships tipping decidedly in favor of the moving

 party.” Waldman Pub. Corp. v. Landall, Inc., 43 F.3d 775, 779-80 (2d Cir. 1994).

 I.     THE PLAINTIFFS WILL SUFFER IRREPARABLE HARM IF THE COURT DOES
        NOT GRANT THEIR REQUEST FOR A TEMPORARY RESTRAINING ORDER.

        To show irreparable harm, the Plaintiffs must show that, absent a temporary

 restraining order, they will “suffer an injury that is neither remote nor speculative, but

 actual and imminent, and one that cannot be remedied if a court waits until the end of trial

 to resolve the harm.” Faiveley Transp. Malmo AB v. Wabtec Corp., 559 F.3d 110, 118 (2d

 Cir. 2009). “Where there is an adequate remedy at law, such as an award of money

 damages, injunctions are unavailable except in extraordinary circumstances.” Id. at 118-

 19. Courts will presume that a movant has established irreparable harm in the absence

 of injunctive relief when the movant’s claim involves the alleged deprivation of a

 constitutional right. Am. Civil Liberties Union v. Clapper, 804 F.3d 617, 622 (2d Cir. 2015).

        The Plaintiffs here are entitled to the presumption of irreparable harm in the

 absence of injunctive relief because they have alleged that they will be wholly deprived

 of their constitutional rights to the free exercise of religion, privacy, and medical freedom.

        The Plaintiffs also show actual and imminent harm that is irreparable and caused

 by New York State Health Regulation, Title 10, § 2.61 because they will be terminated

 and barred from working as healthcare professionals in New York unless they receive


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 COVID-19 vaccinations in violation of their religious beliefs. This harm is imminent as at

 least one plaintiff – Michelle Synakowski – will be terminated on September 21, 2021 and

 the other two plaintiffs – Diane Bono and Michelle Melendez – will be terminated on

 September 27, 2021. No amount of money will repair the damage caused by such

 terminations and the subsequent bar for the Plaintiffs to reenter the healthcare field in

 New York.

 II.   THE PLAINTIFFS SHOW A LIKELIHOOD OF SUCCESS ON THE MERITS OF
       THEIR CLAIMS.

       A. Supreme Court Precedent Does Not Establish A Public Health Exception
          To The First Amendment.

       The Defendants will likely claim that the Supreme Court’s decisions in Jacobson

 v. Massachusetts, 197 U.S. 11 (1905), Zucht v. King, 260 U.S. 174 (1922), and Prince v.

 Massachusetts, 321 U.S. 158 (1944) as well as the Second Circuit’s decision in Philips v.

 City of New York, 775 F.3d 538 (2d Cir. 2015) dispositively establish that mandatory

 vaccination laws are per se constitutional even when they seek to subjugate First

 Amendment rights. This claim seeks to establish a public health exception to the First

 Amendment, and it fails for three reasons.

       First, the Supreme Court has clearly established that, even during a public health

 emergency, the First Amendment’s prohibition on the attachment of special disabilities to

 religion still applies in full force. See Harvest Rock Church, Inc. v. Newsom, 141 S. Ct.

 889(Mem) (Dec. 3, 2020) (granting certiorari and adopting Roman Catholic Diocese of

 Brooklyn v. Cuomo, 141 S. Ct. 63 (2020) as its decision). If such a rule applies during a

 public health emergency, common sense dictates that it applies during ordinary

 circumstances as well. In other words, the Defendants’ assertion of a public health



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 interest does not swallow the First Amendment even when it comes in the form of a

 vaccine mandate.

          Second, Jacobson and Zucht involved assertions of different rights than the ones

 that the Plaintiffs assert here. As Justice Gorsuch pointed out in his Cuomo concurrence

 and as Jacobson itself makes clear, Henning Jacobson only asserted a generalized

 Fourteenth Amendment liberty interest claim in Jacobson, not a First Amendment claim,

 a suspect classification claim, or a claim of a fundamental right. Roman Catholic Diocese

 of Brooklyn v. Cuomo, 141 S. Ct. 63, 70 (2020) (Gorsuch, J., concurring). Justice Gorsuch

 then makes the following observation:

          Put differently, Jacobson didn't seek to depart from normal legal rules during
          a pandemic, and it supplies no precedent for doing so. Instead, Jacobson
          applied what would become the traditional legal test associated with the
          right at issue—exactly what the Court does today. Here, that means strict
          scrutiny: The First Amendment traditionally requires a State to treat religious
          exercises at least as well as comparable secular activities unless it can
          meet the demands of strict scrutiny—showing it has employed the most
          narrowly tailored means available to satisfy a compelling state interest.

 Id. at 70.

          Likewise, in Zucht v. King, 260 U.S. 24 (1922), Rosalyn Zucht only asserted a

 generalized Fourteenth Amendment liberty claim against a school vaccination mandate

 and a vague equal protection claim. The Zucht Court relied on Jacobson to reject her

 claim.

          In Prince v. Massachusetts, 321 U.S. 158 (1944), the Supreme Court expressly

 limited its decision to the facts of the case:

          Our ruling does not extend beyond the facts the case presents. We neither
          lay the foundation ‘for any (that is, every) state intervention in the
          indoctrination and participation of children in religion’ which may be done ‘in
          the name of their health and welfare’ nor give warrant for ‘every limitation
          on their religious training and activities.’ The religious training and
          indoctrination of children may be accomplished in many ways, some of

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        which, as we have noted, have received constitutional protection through
        decisions of this Court. These and all others except the public proclaiming
        of religion on the streets, if this may be taken as either training or
        indoctrination of the proclaimer, remain unaffected by the decision.

 Id. at 171.

        Thus, even though the Prince Court rejected the First Amendment claim and

 permitted Massachusetts to regulate child street preaching, it expressly instructed lower

 courts that its opinion did not purport to establish legal principles on any other issue. By

 the Supreme Court’s own language, Prince has no controlling weight in this case.

        Third, even if Justice Gorsuch’s view of Jacobson is incorrect and Jacobson does

 stand for the proposition that vaccination mandates are per se a valid exercise of the

 state’s police power, the Second Circuit’s reliance on it and Zucht in Philips errs, and the

 Court should refuse the temptation to make such an error.

        There is no question that the Fourteenth Amendment represented a drastic shift in

 American constitutional law. Before its ratification, the Supreme Court had clearly

 established that the Founders did not intend for the Bill of Rights to apply to state

 governments. Barron v. Baltimore, 32 U.S. (7 Pet.) 243 (1833). Thus, the states enjoyed

 a greater measure of sovereignty than they did after the ratification of the Fourteenth

 Amendment. In the thirty years before the ratification of the Fourteenth Amendment, there

 were strong political movements – primarily the abolition movement – that sought to

 subject state sovereignty to the individual rights protections guaranteed by the Bill of

 Rights. See Michael Kent Curtis, The Bill of Rights As A Limitation On State Authority: A

 Reply To Professor Berger, 16 Wake Forest L. Rev. 45 (1980). The framers of Fourteenth

 Amendment were abolitionists, and they intended to achieve the subjugation of state

 sovereignty to individual rights protections through the Fourteenth Amendment. Id.

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        The principal author of the Fourteenth Amendment, Representative John

  Bingham, elaborated on the Fourteenth Amendment after its ratification, referencing

  Barron v. Baltimore by name and stating as follows:

        Mr. Speaker, that the scope and meaning of the limitations imposed by the
        first section, fourteenth amendment of the Constitution may be more fully
        understood, permit me to say that the privileges and immunities of citizens
        of the United States, as contradistinguished from citizens of a State, are
        chiefly defined in the first eight amendment to the Constitution of the United
        States.

  Id. at 85 (quoting Cong. Globe, 42d Cong., 1st Sess. App. 84 (1871)). Furthermore,

  another author of the Fourteenth Amendment, Senator Jacob Howard, explained that its

  Privileges or Immunities Clause guaranteed unenumerated rights like the Art. IV, Sec. 2

  Privileges and Immunities Clause did. See Randy E. Barnett & Evan Bernick, The

  Privileges or Immunities Clause Abridged: A Critique of Kurt Lash on the Fourteenth

  Amendment, 95 Notre Dame L.R. 499, 500 (2019). Senator Howard explained that the

  Fourteenth Amendment was intended to protect unenumerated rights of the kind defined

  in Corfield v. Coryell, 6 F. Cas. 546, 551 (C.C.E.D. Pa. 123). Id. at 500 (citing Cong.

  Globe, 39th Cong., 1st Sess. 2765 (1866) (statement of Sen. Howard).

        The Supreme Court declined to adopt the clear interpretation of the Fourteenth

  Amendment’s Privileges or Immunities Clause as a vehicle for incorporation of the Bill of

  Rights and substantive due process in The Slaughter-House Cases, 83 U.S. 36 (1873).

  Over the late 1800s, the Supreme Court repeatedly rejected arguments aimed at

  achieving the Fourteenth Amendment’s original purpose of incorporating the Bill of Rights

  against the states. See, e.g., United States v. Cruikshank, 92 U.S. 542 (1876). The

  Supreme Court did not recognize incorporation as a constitutional doctrine until 1925 in

  Gitlow v. New York, 268 U.S. 652 (1925), and it did not recognize unenumerated rights

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  as being protected by the Fourteenth Amendment until Lochner v. New York, 198 U.S.

  45 (1905). Furthermore, the Supreme Court did not even discuss modern constitutional

  scrutiny doctrines until 1938 in United States v. Carolene Products Co., 304 U.S. 144,

  152 n. 4 (1938), and it did not apply a form of scrutiny other than rational basis review

  until Korematsu v. United States, 323 U.S. 214 (1944).

           Thus, when the Supreme Court decided Jacobson, it had not given full force and

  meaning to the precise nature of the Fourteenth Amendment. The controlling

  jurisprudence at the time meant that the Supreme Court did not examine unenumerated

  rights or enumerated rights guaranteed by the Fourteenth Amendment because it did not

  interpret the Fourteenth Amendment as protecting either form of individual rights. Even

  more notably, Henning Jacobson did not even attempt to assert claims under the Bill of

  Rights or some sort of unenumerated rights theory within the Fourteenth Amendment,

  relying wholly on the argument that the Fourteenth Amendment protected a form of

  generalized liberty.

           The Supreme Court has never had the occasion to revisit the scope of Jacobson

  after it recognized the full scope of the Fourteenth Amendment and effected the

  fundamental change required by the Fourteenth Amendment in the dynamic between the

  state’s police power and individual rights. The result is that Jacobson is out of place in

  modern constitutional jurisprudence and should not be given the force of controlling law.

           An illustration of Jacobson’s place in modern constitutional jurisprudence readily

  presents itself. The CDC described HIV/AIDS as a global pandemic in 2006, 2 and it was




  2   https://www.cdc.gov/mmwr/preview/mmwrhtml/mm5531a1.htm

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  treated as a global pandemic since the 1980s. 3 According the CDC’s statistics in 2018,

  gay and bisexual men accounted for 69% of new HIV diagnoses. 4 Despite HIV/AIDS

  being declared a global pandemic and the increased risk of the spread of HIV/AIDS

  among gays and bisexuals, the Supreme Court clearly established that states’ police

  power does not permit them to criminalize homosexual intimacy, which is protected as a

  fundamental unenumerated right under the Fourteenth Amendment. 5 Lawrence v. Texas,

  539 U.S. 558 (2003). If Jacobson controlled as a rule of law, it would undoubtedly permit

  states to prohibit conduct that would spread HIV/AIDS with the threat of criminal

  consequences. However, as the Supreme Court recognized in Lawrence, modern

  constitutional jurisprudence does not permit the state to classify fundamental rights –

  enumerated or unenumerated – as forbidden fruit at which a mere nibble will result in

  criminal consequences. The Supreme Court did not cite or discuss Jacobson once in its

  Lawrence opinion, and it did not address public health concerns either. Lawrence v.

  Texas, 539 U.S. 558 (2003).

         Lawrence shows that Jacobson is out of place in modern constitutional

  jurisprudence and confirms its historical context as a pre-incorporation/unenumerated

  rights rule of law that has little to no application in modern constitutional jurisprudence.

  The Court should not give Jacobson and other decisions that rely on it dispositive weight

  over the Plaintiffs’ Free Exercise claims, and it should instead apply modern constitutional

  jurisprudence to scrutinize the Defendants’ restrictions as the Supreme Court itself has




  3 Michael H. Merson, The HIV-AIDS Pandemic at 25 – The Global Response, N. Engl. J. Med. (2006).

  https://www.nejm.org/doi/full/10.1056/nejmp068074
  4 https://www.cdc.gov/hiv/statistics/overview/ataglance.html
  5 Laurence H. Tribe, Lawrence v. Texas: The “Fundamental Right” That Dare Not Speak Its Name, 117

  Harv. L. Rev. 1893 (2004).

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  done recently. See, e.g., Tandon v. Newsom, 141 S. Ct. 1294 (Apr. 9, 2021); Harvest

  Rock Church, Inc. v. Newsom, 141 S. Ct. 889(Mem) (2020); Roman Catholic Diocese of

  Brooklyn v. Cuomo, 141 S. Ct. 63 (2020).

         B. New York State Health Regulation, Title 10, § 2.61 Targets Religion For A
            Special Disability In Violation Of The First Amendment Because It Allows
            Healthcare Workers To Claim A Medical Exemption, But Not A Religious
            One.

         Although the First Amendment does not entitle religious observers to special

  dispensations from general criminal laws because of their religion, “[t]he Free Exercise

  Clause protect[s] religious observers against unequal treatment and subjects to the

  strictest scrutiny laws that target the religious for special disabilities based on their

  religious status.” Trinity Lutheran Church of Columbia, Inc. v. Comer, 137 S.Ct. 2012,

  2019 (2017) (internal citation and quotation marks omitted); see also Employment Div.,

  Dept. of Human Resources of Oregon v. Smith, 494 U.S. 872, 877 (1990). Thus, laws

  may not discriminate against “some or all religious beliefs.” Trinity Lutheran, 137 S.Ct. at

  2021 (quoting Church of Lukumi Babulu Aye, Inc. v. Hialeah, 508 U.S. 520, 532 (1993)).

  Laws that discriminate in such a manner are subject to the strictest scrutiny. Id. at 2019.

  Thus, the analysis of First Amendment Free Exercise claims begins with an analysis of

  whether a law is neutral and of general applicability. Fulton v. City of Philadelphia,

  Pennsylvania, 141 S. Ct. 1868, 1876 (Jun. 17, 2021).

         “A law is not generally applicable if it invite[s] the government to consider the

  particular reasons for a person’s conduct by providing a mechanism for individualized

  exemptions.” Fulton, 141 S. Ct. at 1877 (internal quotation marks and citations omitted).

  “A law also lacks general applicability if it prohibits religious conduct while permitting

  secular conduct that undermines the government’s asserted interests in a similar way.”

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  Id. While it is true that all laws are somewhat selective, the Supreme Court has held that

  specific “categories of selection are of paramount concern when a law has the incidental

  effect of burdening religious practice.” Church of the Lukumi Babalu Aye, Inc. v. City of

  Hialeah, 508 U.S. 520, 542 (1993).

         At least one circuit court has previously held that the grant of a medical exemption,

  but not a religious exemption, violates the neutrality and general applicability

  requirements of the Free Exercise Clause. In Fraternal order of Police Newark Lodge No.

  12 v. City of Newark, 170 F.3d 359 (3rd Cir. 1999), now-Justice Samuel Alito held that a

  police department’s medical exemptions from a shaving policy, but denial of religious

  exemptions, constituted a set of individualized exemptions within the meaning of Lukumi.

  Of particular concern to Justice Alito and his fellow Third Circuit judges was when “the

  government does not merely create a mechanism for individualized exemptions, but

  instead, actually creates a categorical exemption for individuals with a secular objection,

  but not for individuals with a religious objection.” Id. at 365. Thus, they held that such a

  categorical distinction triggered strict scrutiny because the medical exemption

  undermined the government’s interests in the same way that the religious exemption did.

  Id.

         Additionally, in Tandon v. Newsom, 141 S. Ct. 1294, 1296 (Apr. 2021), the

  Supreme Court held that whether two activities or exemptions are comparable for

  purposes of a Free Exercise Clause analysis is determined by the risks that they pose,

  not the reasons for giving them.

         The Defendants have offered familiar cliches when it comes to justifying New York

  State Health Regulation, Title 10, § 2.61, arguing that a mandatory COVID-19 vaccination



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  for healthcare workers is necessary to protect public health. These cliches, however,

  falter under New York State Health Regulation, Title 10, § 2.61’s system of individualized

  exemptions that entertains requests for secular (medical) exemptions while categorically

  excluding requests for religious exemptions.

         The empty platitudes that the Defendants have offered the public ignore reality.

  Regardless of whether a healthcare worker claims a medical or a religious exemption,

  they enter hospitals and other covered entities unvaccinated and, in the Defendants’

  eyes, more likely to spread COVID-19 than their peers. COVID-19, and the spread of

  COVID-19, will not inquire as to a healthcare worker’s reasons for being exempt from the

  Defendants’ COVID-19 vaccination requirement. As set forth in Tandon, the law does not

  inquire why either when considering which level of constitutional scrutiny to apply. The

  plain truth of the matter is that the Defendants consider all unvaccinated healthcare

  workers to be a public health risk because of their increased likelihood to spread

  contagious disease.

         Because New York State Health Regulation, Title 10, § 2.61 provides a system of

  individualized exemptions, Fulton clearly mandates the conclusion that it is not a

  regulation of neutral and general applicability. Thus, Supreme Court precedent requires

  the Court to apply strict scrutiny to New York State Health Regulation, Title 10, § 2.61.

         It cannot survive strict scrutiny. Under a strict scrutiny analysis, a government

  defendant must show that the challenged law is narrowly tailored to further a compelling

  government interest. Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 172 (2015). New York

  State Health Regulation, Title 10, § 2.61 fails on both elements.




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         First, the Defendants likely will claim a compelling interest in preventing the spread

  of COVID-19 and its variants in the healthcare community. As discussed above, however,

  they undermine the compelling nature of their interest by allowing healthcare workers to

  claim medical exemptions from their COVID-19 vaccination mandate. Once again,

  COVID-19, and the spread of COVID-19, will not inquire as to a healthcare worker’s

  reasons for being exempt from the Defendants’ COVID-19 vaccination requirement. By

  allowing medical exemptions, the Defendants have failed to state a compelling interest

  strong enough to infringe on the Plaintiffs’ First Amendment rights.

         Second, New York State Health Regulation, Title 10, § 2.61 does not even abide

  in the same universe as narrow tailoring does. The Defendants willingly provide

  accommodations to healthcare workers claiming medical exemptions, but mandate the

  termination of healthcare workers claiming religious exemptions and then bar them from

  working in healthcare until they bow to the COVID-19 vaccination mandate. Even

  assuming arguendo that the Defendants could constitutionally impose stricter

  requirements on healthcare workers who receive religious exemptions, the Defendants

  had many ways to limit their risk to public health. The Defendants could have required all

  exempt healthcare workers to work only with low-risk populations in the healthcare

  system. It could have required them to submit to regular COVID-19 testing, masking, and

  other restrictions.

         They chose to do none of these things and completely ignored the fact that

  healthcare workers such as the Plaintiffs delivered quality and safe healthcare throughout

  the COVID-19 pandemic without being vaccinated. Last year, the Defendants

  categorically lauded the Plaintiffs as heroes. This year, they are trying to fire them with



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  no consideration of how they can accommodate them. The First Amendment requires

  narrow tailoring, and the Defendants have not made any good faith efforts to narrowly

  tailor New York State Health Regulation, Title 10, § 2.61.

        The Supreme Court’s decision in Fulton clearly indicates that the Defendants’

  behavior is constitutionally impermissible. Thus, the Plaintiffs have shown that they are

  likely to prevail on the merits and that a temporary restraining order and a preliminary

  injunction are appropriate and required here to protect their First Amendment rights.

        C. New York State Health Regulation, Title 10, § 2.61 Violates The Plaintiffs’
           Fourteenth Amendment Rights To Privacy And Medical Freedom.

        The Supreme Court unequivocally established a fundamental right to privacy in the

  First, Fourth, Fifth, Ninth, and Fourteenth Amendments in Roe v. Wade and prior

  decisions. See Roe v. Wade, 410 U.S. 113, 152-53 (1973). While its precedents only

  covered matters pertaining to marriage, procreation, contraception, family relationships,

  and child rearing and education, the Roe Court refrained from confining it to just those

  areas. Id. at 152-53. The Roe Court then elaborated on the medical nature of the decision

  that a woman must make on whether to elect an abortion:

        This right of privacy, whether it be founded in the Fourteenth Amendment's
        concept of personal liberty and restrictions upon state action, as we feel it
        is, or, as the District Court determined, in the Ninth Amendment's
        reservation of rights to the people, is broad enough to encompass a
        woman's decision whether or not to terminate her pregnancy. The detriment
        that the State would impose upon the pregnant woman by denying this
        choice altogether is apparent. Specific and direct harm medically
        diagnosable even in early pregnancy may be involved. Maternity, or
        additional offspring, may force upon the woman a distressful life and future.
        Psychological harm may be imminent. Mental and physical health may be
        taxed by child care. There is also the distress, for all concerned, associated
        with the unwanted child, and there is the problem of bringing a child into a
        family already unable, psychologically and otherwise, to care for it. In other
        cases, as in this one, the additional difficulties and continuing stigma of



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         unwed motherhood may be involved. All these are factors the woman and
         her responsible physician necessarily will consider in consultation.

  Id. at 153.

         The Supreme Court then reaffirmed its decision in Planned Parenthood v. Casey,

  505 U.S. 833 (1992) and describe the choice on whether to get an abortion as one of the

  “most intimate and personal choices that a person may make in a lifetime, choices central

  to personal dignity and autonomy.” Id. at 851. Although the Casey Court located the right

  to an abortion under a Fourteenth Amendment liberty theory, it did not cast doubt on

  Roe’s formulation of the right as a right to privacy. Id. at 852-853.

         Under these decisions, the decision to terminate a pregnancy is inherently a

  private medical decision. While the Roe Court cited Jacobson for the proposition that the

  fundamental right to privacy did not completely remove conduct from state regulation, it

  held that states could only regulate the right when its interest became compelling and its

  regulations must be narrowly tailored. Roe, 410 U.S. at 154-56. In other words, Roe

  required state regulations to survive strict scrutiny.

         If the right to elect a medical procedure to terminate the life of another being is a

  fundamental constitutional right, the right to decline a vaccination is also a fundamental

  constitutional right with similar roots in the Supreme Court’s precedents. See Cruzan v.

  Director, Missouri Department of Health, 497 U.S. 261 (1990) (holding that there is a

  fundamental constitutional right to refuse medical treatment). Like the right to abortion,

  the right to decline a vaccination is not an unlimited right, but one that is entitled to be

  protected by strict scrutiny.

         As discussed previously, the state of federal constitutional law has changed

  dramatically since Jacobson, and, as Justice Gorsuch pointed out, courts must follow

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  Jacobson’s approach to selecting levels of scrutiny and issuing rulings. Because Philips

  and the other Second Circuit cases that the Defendants rely on blindly embrace Jacobson

  as dispositive for its holding instead of what it did, they cannot control this claim.

         New York State Health Regulation, Title 10, § 2.61 cannot survive strict scrutiny

  because there are ways where the Defendants can tailor their “solutions” for preventing

  the spread of COVID-19 while respecting the Plaintiffs’ rights – i.e., restricting them to

  working with low-risk patients while testing frequently and wearing the same personal

  protective equipment that they did throughout the entirety of the COVID-19 pandemic.

  Thus, the Plaintiffs are likely to prevail on the merits of this claim.

  III.   THE BALANCE OF HARDSHIPS DECIDEDLY WEIGHS IN FAVOR OF THE
         PLAINTIFFS.

         If the Court does not grant the Plaintiffs’ application for a temporary restraining

  order and a preliminary injunction, they will suffer irreparable harm in the form of the loss

  of their employment and income and being barred from working in the healthcare industry

  in New York State for the foreseeable future. See New York State Health Regulation, Title

  10, § 2.61. More seriously, they will be subject to daily religious discrimination as they

  will be unable to find work as nurses or in other healthcare positions because of the

  Defendants’ intolerance for their religious beliefs. No amount of monetary compensation

  can compensate the Defendants for such a devastating turn of events.

         To the contrary, the Defendants and their proclaimed interests will suffer no harm

  from a temporary restraining order and a preliminary injunction. They have lauded the

  professionalism of healthcare workers such as the Plaintiffs throughout the course of the

  COVID-19 pandemic. They praised their ability to control the spread of COVID-19 through

  the use of proper personal protective equipment (PPE) and various other precautions.


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  The mere emergence of COVID-19 vaccinations did not eliminate the same precautions

  or professionalism that the Defendants once praised. The Plaintiffs are more than willing

  to and capable of exercising that professionalism and those precautions, and they have

  proven that for over a year.

         While the Defendants may assert that the public interest lies in the control of the

  spread of COVID-19, the public interest that our nation has articulated for centuries is in

  constitutional liberties. Even in times of national emergencies, the public interest lies in

  the rights guaranteed to every American by the United States Constitution. While there is

  an undeniable public interest in combatting and containing COVID-19, it does not take

  precedent over the public interest established in the supreme law of the land: the United

  States Constitution.

         Thus, issuing the temporary restraining order would serve the public interest by

  protecting the constitutional liberties that our ancestors established and which have

  remained constant through every time of national crisis this nation has faced.

                                         Conclusion

         For the foregoing reasons, the Plaintiffs respectfully request the Court to

  immediately issue a temporary restraining order enjoining the enforcement of New York

  State Health Regulation, Title 10, § 2.61 until such time as the Court can hear the parties’

  arguments for a preliminary injunction.




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                               CERTIFICATE OF SERVICE

        I hereby certify that on the date above a copy of the foregoing was served by

  certified mail, email, and/or by fax upon Governor Hochul and Dr. Zucker or their proper

  representatives designated by law.

                                                        /s/ Norman A. Pattis /s/
                                                        NORMAN A. PATTIS, ESQ.


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